February 12, 2018

To: Hildale, Utah; Colorado City, Arizona; Department of Justice.

Re: Clarification of Police Consultant CAD support

By way of clarification from the February 1, 2018 Monitor Report, regarding the use of the Police
Consultant in the CAD reporting. The Monitor had requested the services of the Police
Consultant in making the CAD a usable document to verify the accuracy of the calls for service
relating to Fair Housing issues.

As a point of clarification, The Police Consultant did not request to be excused from assisting in
the CAD report but rather Colorado City officials had informed the Police Consultant that his
work on the CAD system was outside of the Court Order and to discontinue these activities.

I am grateful for the clarification from the Courts, titled "Case Status" (Document 1149), allowing
the Consultant to work with the Monitor until such time that the CAD reports are not "inadequate
in any respect."

Again, I apologize for the confusion and hopes this brings greater understanding to my report.

Please let me know if there is anything I can further.

Roger Carter
Court Monitor
